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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE


 In re:                                                                Chapter 11

 AMYRIS, INC., et al.,                                                 Case No. 23-11131 (TMH)

                                    Debtors.1                          (Jointly Administered)

                                                                       Related Docket Nos. 524, 525, 809, 826

 NOTICE OF FILING OF REVISED ORDER (I) APPROVING THE SECOND AMENDED
  DISCLOSURE STATEMENT; (II) SCHEDULING CONFIRMATION HEARING; (III)
 APPROVING FORM AND MANNER OF NOTICE OF CONFIRMATION HEARING; (IV)
 ESTABLISHING PROCEDURES FOR SOLICITATION AND TABULATION OF VOTES
 TO ACCEPT OR REJECT PLAN, INCLUDING (A) APPROVING FORM AND CONTENT
     OF SOLICITATION MATERIALS; (B) ESTABLISHING RECORD DATE AND
APPROVING PROCEDURES FOR DISTRIBUTION OF SOLICITATION MATERIALS; (C)
  APPROVING FORMS OF BALLOTS; (D) ESTABLISHING VOTING DEADLINE FOR
      RECEIPT OF BALLOTS AND (E) APPROVING PROCEDURES FOR VOTE
    TABULATIONS; (V) APPROVING FORM AND MANNER OF NOTICE OF PLAN
    RELEASES; (VI) ESTABLISHING DEADLINE AND PROCEDURES FOR FILING
   OBJECTIONS TO CONFIRMATION OF PLAN; AND (VII) GRANTING RELATED
                                 RELIEF

           PLEASE TAKE NOTICE that on October 13, 2023, the above-captioned debtors and

 debtors in possession (collectively, the “Debtors”), filed the Debtors’ Motion for an Order (I)

 Approving the Disclosure Statement; (II) Scheduling Confirmation Hearing; (III) Approving

 Form and Manner of Notice of Confirmation Hearing; (IV) Establishing Procedures for

 Solicitation and Tabulation of Votes to Accept or Reject Plan, Including (A) Approving Form

 and Content of Solicitation Materials; (B) Establishing Record Date and Approving Procedures

 for Distribution of Solicitation Materials; (C) Approving Forms of Ballots; (D) Establishing

 Voting Deadline for Receipt of Ballots and (E) Approving Procedures for Vote Tabulations; (V)

 Approving Form and Manner of Notice of Plan Releases; (VI) Establishing Deadline and


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      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
      Debtors’ claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
      principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street,
      Suite 100, Emeryville, CA 94608.

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Procedures for Filing Objections to Confirmation of Plan; and (VII) Granting Related Relief

[Docket No. 525] (the “Motion”) with the United States Bankruptcy Court for the District of

Delaware, 824 Market Street, 3rd Floor, Wilmington, Delaware 19801 (the “Bankruptcy Court”).

          PLEASE TAKE FURTHER NOTICE that a hearing will be held on December 12,

2023, at 10:00 a.m. to consider the Motion.

          PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit A is a revised

version of the proposed order approving the Motion (the “Revised Proposed Order”). The

Debtors reserve the right to make additional changes to the Revised Proposed Order prior to the

hearing.

          PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit B is a blackline

of the Revised Proposed Order, showing changes made from the form of order filed with the

Motion.

Dated: December 8, 2023                           PACHULSKI STANG ZIEHL & JONES LLP

                                                  /s/ James E. O’Neill
                                                  Richard M. Pachulski (admitted pro hac vice)
                                                  Debra I. Grassgreen (admitted pro hac vice)
                                                  James E. O’Neill (DE Bar No. 4042)
                                                  Jason H. Rosell (admitted pro hac vice)
                                                  Steven W. Golden (DE Bar No. 6807)
                                                  919 N. Market Street, 17th Floor
                                                  P.O. Box 8705
                                                  Wilmington, DE 19899-8705 (Courier 19801)
                                                  Telephone: (302) 652-4100
                                                  Facsimile: (302) 652-4400
                                                  Email: rpachulski@pszjlaw.com
                                                          dgrassgreen@pszjlaw.com
                                                          joneill@pszjlaw.com
                                                          jrosell@pszjlaw.com
                                                          sgolden@pszjlaw.com

                                                  Counsel to the Debtors and Debtors in Possession




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